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                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

        Maryland Shall Issue, Inc., et al.,

              Plaintiffs-Appellants,                              No. 23-1719
        v.

        Montgomery County, Maryland,

              Appellee



                          MONTGOMERY COUNTY, MARYLAND’S
                                 STATUS REPORT

              Pursuant to Federal Rule of Appellate Procedure 12 and Local Rule 12(d),

        Defendant-Appellee Montgomery County, Maryland (“County”) respectfully

        provides to this Court the following status report:

              The Appellate Court of Maryland heard oral argument on the County’s appeal

        of the Circuit Court’s declaratory judgment and permanent injunction on December

        5, 2024 (ACM-REG-2319-2023). The parties await a decision from that Court.

              Respectfully submitted,



                                                   JOHN P. MARKOVS
                                                   COUNTY ATTORNEY


                                                        /s/ Edward B. Lattner
                                                   Edward B. Lattner
                                                   Deputy County Attorney
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                                        Chief, Government Operations Division

                                              /s/ Matthew H. Johnson
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                                 CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on January 22, 2025, a copy of the foregoing was

        filed to be transmitted via this Court’s CM/ECF Electronic Document Filing

        System to:

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                                               /s/ Erin J. Ashbarry
                                               Erin J. Ashbarry




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